                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION


    UNITED STATES OF AMERICA,                    :      CASE NO.        1:12-CR-043
                                                 :                      1:17-CV-114
                       Respondent,               :
                                                 :      JUDGE BARRETT
        v.                                       :
                                                 :
                                                 :      GOVERNMENT’S RESPONSE TO
    TRACY BIAS,                                  :      PETITIONER’S 2255 MOTION
                                                 :
                       Petitioner.               :


       The United States by and through counsel, Assistant United States Attorney Timothy

Oakley, respectfully submits that the defendant=s captioned 28 U.S.C. § 2255 Motion must be

dismissed.

ISSUES PRESENTED:

       The Petitioner has raised four grounds to seek relief:

      (1) The United States breached the plea agreement in failing to file a proper motion.

      (2) Multiple counsel were ineffective based on a failure to discuss defenses and instead pled

         guilty and received more time than others in the conspiracy.

      (3) Breach of the plea agreement by accepting a plea agreement and letting him waive his

         rights.

      (4) Malicious prosecution from Judge Barrett based on not requiring the United States to

         request a sentence sought by the Petitioner and sentencing the Petitioner to more time

         than others in the conspiracy, as well as ordering the forfeiture of the income obtained

         by the Petitioner as part of the criminal operation.
STANDARD OF REVIEW:

       Waivers: Claims that are waived in the plea agreement are procedurally barred from

appeal as long as made knowingly and intelligently. United States v. Coker, 514 F.3d. 562 (6th

Cir. 2008). United States v. Smith, 344 F.3d 479, 483 (6th Cir. 2003).

       Procedurally barred: Claims that are raised on direct appeal may not be re-litigated under

28 U.S.C. § 2255 absent highly exceptional circumstances” such as an intervening change in the

law. Dupont v. United States 76 F.3d 108, 110 (6th Cir. 1996).

       Ineffective assistance of counsel: Petitioner must show that (1) the counsel’s performance

was deficient to the point where counsel was no longer functioning as the counsel guaranteed by

the Sixth Amendment; and (2) Petitioner must show that the deficient performance prejudiced the

Petitioner to the point where the result was unreliable. Strickland v. Washington, 466 U.S. 668,

687 (1984).

       Plea agreements:      A defendant who pleaded guilty is not entitled to federal post-

conviction relief where the defendant had consented in open court to terms of the plea agreement,

understood the consequences of his plea and consciously chose to plead rather than to go to trial.

There has been no breach of the agreement or other impropriety in the administration of plea

agreement, and defendant was assisted by counsel within terms of the Sixth Amendment. Baker

v. United States, 781 F.2d 85 (6th Cir. 1986). Voluntary and intelligent pleas of guilty are not

subject to collateral attack. Mabry v. Johnson, 467 U.S. 504 (1984), also citing; United States v.

Broce, 488 U.S. 563, 574 (1989). Absent a condition in the plea agreement that binds the

government to move for a downward departure, refusals by the United States to file a motion for

downward departure based on substantial assistance are not reviewable unless there is a showing




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the government failed to move for constitutionally improper motives such as race or religion.

United States v. Rashid, 274 F. 3d 407 417-418 (6th Cir. 2001) citing, United States v. Williams,

176 F.3d 301, 308 (6th Cir. 1999).

STATEMENT OF THE CASE:

       The Petitioner was charged in a series of Indictments for operating and conspiracy to

operate a “pill mill” and distributing controlled substances. In the first Indictment, the Petitioner

was indicted with his business partner and several physicians. In a Superseding Indictment, the

United States added an attorney into the conspiracy with Petitioner Bias.

       The Petitioner entered into a negotiated plea to one of the counts pertaining to him. The

plea agreement contained a waiver of his right to appeal any sentence below the statutory

maximum. (Plea Agreement paragraph 14). The plea agreement allowed the Petitioner to plead

to Count 1 charging him with Conspiracy to Distribute Controlled Substances being oxycodone,

hydrocodone, alprazolam and diazepam without a legitimate medical purpose. The potential

penalties of Count 1 were spelled out in the plea agreement as a potential term of imprisonment of

up to twenty years imprisonment, a three-year term of supervised release, a special assessment of

one hundred dollars, as well as forfeiture and potential civil penalties. It also contained a provision

that should the defendant provide honest and complete testimony that the United States would seek

a sentence of ten (10) years and that the United States was the sole determiner as to whether the

defendant/Petitioner had provided that cooperation. (Plea Agreement paragraphs 4, 5, 7). If the

Petitioner failed to provide assistance as required, the United States would void the plea agreement.

If the plea was voided the petitioner faced a mandatory term of incarceration of twenty years to

life imprisonment due to deaths resulting from the conspiracy. The plea agreement also was clear




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that the Court was not bound by any recommendation from the parties. (Plea Agreement paragraph

16).

       After the plea agreement was signed and filed and before the plea hearing date, the

Petitioner had a secret meeting with co-defendant Hillman and they discussed the statement of

facts. This meeting took place without the knowledge of Petitioners appointed counsel. During

this meeting, the Petitioner changed portions of the already signed statement of facts to remove

portions about co-defendant Hillman and to mitigate Petitioner’s involvement with a third clinic.

       The United State accepted the amended statement of facts as part of the plea colloquy as

the remaining facts were sufficient to prove the Petitioner’s guilt to the overall conspiracy.

       At the trial of co-defendant Hillman, Petitioner testified. The United States felt that the

testimony was at best incomplete and not a full discussion of what the true involvement between

Petitioner and the co-defendant. It was incoherent and made little sense when based upon the rest

of the evidence. The United States did not file a motion for downward departure based on the

nature of the testimony. At the Petitioner’s sentencing hearing, the matter was raised before this

Court. The United States best summed up the as a failure to provide complete and honest

testimony. (Sentencing transcript at 24). The Court made its own note about now being impressed

by the Petitioner’s candor during his testimony. Id at 39.

       The Court ultimately sentenced the Petitioner to a period of incarceration of 168 months

on Count 1. A Notice of Appeal was requested. The Petitioner raised the issue of the United

States alleged breach of the plea agreement on direct appeal. The appeal was denied February 22,

2016. The Petition was filed with the Court on February 15, 2017.




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GOVERNMENT’S RESPONSE:

        The Petitioners Motion to Vacate must be denied. First and foremost, the Petitioner has

waived his rights to appeal any sentence that did not exceed the statutory maximum sentence of

forty (40) years. This sentence did not exceed the statutory maximum sentence.

        Upon review, the issues all blend into a generic claim that the United States breached the

plea and the Court was complicit in refusing to allow the defendant to withdraw his legally entered

guilty plea.

        The merits of the argument are not to be considered. The Petitioner’s issues fail on the

face of the record. Under the current law, the United States would submit that the Petitioner is

actually precluded by his plea of guilty from contesting his issues. The § 2255 is at best a long

version of the direct appeal. The issue raised was the breach of the plea agreement by the United

States. The only difference is that the Court is now added within the context of the same

arguments. The record shows: (1) the Petitioner was aware of the essential elements of the offense

to which he pled guilty and the potential sentences. These were discussed on direct appeal and

denied. As noted above, it is improper to use this forum to re-hash issues that have already been

litigated before the Court. That would be the issues on direct appeal and the multiple attempts to

further reduce the sentence via the motion under Title 18 U.S.C § 3582.

        Moreover, in the factual background of the plea, the Petitioner, under oath, either admitted

his guilt or agreed with the factual basis of the offense on multiple occasions. Voluntary and

intelligent pleas of guilty are not subject to collateral attack. Mabry v. Johnson, 467 U.S. 504

(1984), also citing, United States v. Broce, 488 U.S. 563, 574 (1989). As such, the Petitioner fails

on any avenue as to this claim. Again, there is simply nothing in the record to indicate that the

Petitioner would not have entered the plea but for the fact that he received more imprisonment




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than he hoped. That additional amount of time was based on the Petitioner’s own secret behavior

and not by action of the United States. Petitioner entered a voluntary plea of guilty to the charged

offense. He is now precluded to attack the matter through collateral attack.

       The Petitioner has procedurally defaulted on this claim. A procedural default of claims

requires a showing of actual innocence; in that the Petitioner must show that it is more likely than

not that a reasonable juror would not have convicted him. United States v. Frady, 456 U.S. 152,

167-69 (1982); Ratliff v. United States, 999 F.2d 1023, 1026 (6th Cir. 1993). Factual innocence is

more than mere insufficiency of the evidence. Bousley v. United States, 523 U.S. 614 (1998).

       Petitioner cannot show that this alleged error or ineffectiveness meets this standard of

showing he suffered a substantial effect on his rights. See, United States v. Lumbard, 706 F.3d

716, 721 (6th Cir. 2013). To satisfy that the error affected his substantial rights, a defendant

normally must show that the error was prejudicial, i.e., that it “affected the outcome of the district

court proceedings.” United States v. Olano, 507 U.S. 725, 734 (1993). Nothing in the record or

case law gives credence to the Petitioner’s argument.

       Moreover, even if the Court were to consider the claim, the Petitioner has not and cannot

show he is actually innocent of the offense. As previously noted, the Petitioner pled guilty.

       The case law also defeats the Petitioner’s claim of ineffective assistance of counsel.

Petitioner must show that (1) the counsel’s performance was deficient to the point where counsel

was no longer functioning as the counsel guaranteed by the Sixth Amendment; and (2) Petitioner

must show that the deficient performance prejudiced the Petitioner to the point where the result

was unreliable. Strickland v. Washington, 466 U.S. 668, 687 (1984). What the record does show

is that counsel was able to obtain a benefit to the Petitioner through his guilty plea. Petitioner

received a sentence some 200 months less than the guidelines called for. There is absolutely no




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indication counsel’s performance was constitutionally deficient. Further, the record is again

devoid of any indication that any alleged deficiencies of counsel to the level that the results were

unreliable.

       There is also no showing that Petitioner=s counsel was unaware of the applicable law. On

the contrary, counsel was well aware of the facts of the case and the likelihood of the Petitioner=s

conviction had the case gone to trial. Moreover, counsel was well aware of the potential exposure

the Petitioner would have faced, for the drug trafficking crime once he was convicted. It was the

Petitioner who chose to meet with his co-defendant and concoct a new version of the facts. A

version that left out key aspects of the case and was incomplete. It is in this context the Court

viewed the testimony of the Petitioner. The plea agreement allowed for the Court to make a

decision as to what the ultimate sentence would be, not the United States. (Plea Agreement

paragraph 16).

CONCLUSION:

       To rehash the arguments made earlier by the government in this claim, the Petitioner cannot

show an equitable tolling of the statute, he cannot show either cause and prejudice, he cannot show

actual innocence, he cannot show deficient performance of counsel, and he cannot re-litigate the

issues previously raised. In sum, the Petitioner has failed to meet any burden place upon him to




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satisfy any standard of review for the Motion under § 2255 to be granted. The Petitioner’s motion

must be denied.

                                                    Respectfully submitted,

                                                    BENJAMIN C. GLASSMAN
                                                    United States Attorney


                                                    s/Timothy D. Oakley
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                               CERTIFICATE OF SERVICE


       I hereby certify that a copy of the foregoing was served this 24th day of March, 2017 and

by regular U.S. Mail on Petitioner, Tracy Bias, 70248-061 at FCI Elkton, Federal Correctional

Institution, P.O. Box 10, Lisbon, OH 44432.


                                                    s/Timothy D. Oakley
                                                    TIMOTHY D. OAKLEY (0039965)
                                                    Assistant United States Attorney




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